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 Counsel for Gregory Greene and Joseph Lack

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                             § Chapter 15
                                                    §
 MtGox Co., Ltd. (a/k/a MtGox KK)                   § Case No. 14-31229-sgj-15
                                                    §
          Debtor in a Foreign Proceeding            §
                                                    §

   OBJECTION TO EMERGENCY MOTION FOR CONTINUANCE OF DEPOSITION

          Creditors Gregory Greene and Joseph Lack (collectively, the “Greene Plaintiffs”), by

 their attorneys, Edelson P.C., Honigman Miller Schwartz and Cohn LLP, and Haynes and Boone

 LLP, file this objection (the “Objection”) to the Emergency Motion for Continuance of

 Deposition filed by the Debtor, Mt. Gox Co. Ltd (a/k/a Mt. Gox KK) (“Mt. Gox” or the

 “Debtor”) and respectfully state as follows:

                                              Introduction

          As this Court is well aware, on April 1, 2014 the Court—following a full hearing on the

 Greene Plaintiffs’ Motion to Compel the Deposition of Robert Mark Marie Karpeles



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 (“Karpeles”) in the United States (Docket No. 39)—expressly ordered Karpeles to travel to

 Dallas, Texas for his deposition on April 17, 2014 (the “Deposition Order”).1

           In the two weeks following the hearing, counsel for the Greene Plaintiffs, counsel for

 Coinlab, and the U.S. Trustee repeatedly asked Debtor’s counsel for an answer regarding

 Karpeles’ intentions with respect to the Deposition Order. In response, the Debtor’s lawyers

 responded at various times: (1) that they had not been informed he was not coming, (2) that they

 would make the travel arrangements for him, (3) that they expected the Greene Plaintiffs to cover

 the costs of “business class” seating for the trip, and (4) that they expected the Greene Plaintiffs

 to also pay for travel to Washington D.C. so Karpeles could respond to a subpoena issued by the

 United States Treasury Department.

           As counsel for the Greene Plaintiffs made preparations for the deposition, on April 14,

 2014—just three days before the scheduled examination—Debtor’s counsel announced via email

 that Karpeles would not be traveling to Dallas and that papers would be filed with the Court later

 in the day. Later that afternoon, the Debtor filed a so-called Emergency Motion for Continuance

 of Deposition (the “Emergency Continuance Motion”)2 asserting that the Treasury subpoena

 requires that Karpeles be afforded additional time to decide whether he will travel to the United

 States and requesting a continuance of the deposition until May 5, 2014—even though Karpeles

 refuses to commit to appearing on that date either.

           This Court should deny the Emergency Continuance Motion, which on its face is little

 more than an attempt to delay these proceedings. The Emergency Continuance Motion would

 simply allow Karpeles to benefit from his own refusal to comply with the Court’s Deposition


 1
  Order Granting, With Modifications, the Motion of Creditors Gregory Greene and Joseph Lack for Order
 Compelling Deposition Testimony in the United States From the Foreign Representative [Docket No. 72].
 2
     Docket No. 76.



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 Order, and was filed on behalf of the Debtor (which lacks the authority to seek such relief)

 without a proper meet and confer. As such, and for the reasons set forth below, the Court should

 require Karpeles to appear as previously ordered.

                                                  Argument

 A.        The Emergency Continuance Motion Fails to Justify Allowing Karpeles to Violate
           This Court’s Deposition Order.

           1.         At the hearing on April 1, 2014 (the “April 1 Hearing”) on the Greene Plaintiffs’

 Motion to Compel Deposition Testimony in the United States From the Foreign Representative

 [Docket No. 37] (the “Motion to Compel”), the Court made clear that Karpeles was required to

 come to this district to be deposed. The Court made this ruling not only because Karpeles is the

 foreign representative in this case and filed the instant Chapter 15 petition but because he is the

 individual with the most knowledge (perhaps sole knowledge) as to the operations and history of

 the Debtor, and because his testimony is critical to determining whether recognition of the

 Japanese proceeding is appropriate under Chapter 15 of the Bankruptcy Code. See April 1

 Hearing Transcript3 at p. 46.           The Deposition Order is clear on this point, and the Court

 scheduled the deposition for April 17, 2014, at the Dallas offices of Baker & McKenzie.

           2.         Despite the requests of Debtor’s counsel for the deposition to be scheduled around

 May 6, 2014, the Court entered its Deposition Order, requiring Karpeles to appear in Dallas for a

 deposition on April 17, 2014. At the April 1 Hearing, and despite repeated inquiries in the two

 weeks that followed, Karpeles’ counsel was unable to commit to whether or not Karpeles would

 show up for the court-ordered deposition. This is despite a statement by Karpeles’ counsel at the

 April 1 Hearing that “But there’s no restriction, per se, from the Japanese court on whether or not

 he can travel.” April 1 Hearing Transcript at p. 83.

 3
     Docket No. 71.



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          3.     On April 14, 2014, after two weeks of repeated requests for confirmation,

 Karpeles’ counsel informed the Greene Plaintiffs that Mr. Karpeles would not be attending the

 deposition. The Emergency Continuance Motion provides that the only reason for Karpeles’

 failure to appear is a need to obtain counsel in connection with a Summons from the Department

 of the Treasury Financial Crimes Enforcement Network (the “FinCEN Subpoena”) to appear and

 provide testimony on April 18, 2014—despite the fact he has already retained separate counsel

 from the law firm of Novack and Macey LLP. Further, whether Karpeles chooses to comply with

 the FinCEN Subpoena is not an issue before this Court and does not excuse Karpeles from

 violating this Court’s order.

          4.     Indeed, by seeking a continuance of the deposition until May 5, 2014—for which

 the Debtor acknowledges that Karpeles may still not appear—the Emergency Continuance

 Motion is nothing more than an effort by Karpeles to have the Court disregard the Deposition

 Order and bless Karpeles’ non-attendance at the April 17, 2014 deposition, despite no

 intervening changes in circumstances in these Chapter 15 proceedings. Furthermore, May 5,

 2014 would provide the Greene Plaintiffs with less than 1 day to prepare for the hearing on the

 Greene Plaintiffs’ motion to terminate provisional relief (which is currently scheduled for May 6,

 2014).

          5.     Despite the ability of Karpeles to attend the April 17 deposition, and the Greene

 Plaintiffs’ willingness to pay for the reasonable travel expenses related thereto,4 and the fact that

 Karpeles was aware of the FinCEN Subpoena on April 7, Karpeles has waited until it was

 virtually impossible to timely appear before notifying the parties that he would not be

 attending—in express violation of the Deposition Order.

 4
   Despite Karpeles’s assertions, a “business class” ticket is unreasonable. Whereas an economy ticket is
 approximately $1,500, “business class” can run up to $10,000 if not more.


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           6.         Additionally, the facts raised in the Emergency Continuance Motion do nothing to

 impact Karpeles’ ability to comply with the Deposition Order—it merely seeks this Court’s

 approval of his failure to do so. And by seeking to continue the deposition to May 5, 20145 while

 providing no guarantees that he will attend, Karpeles continues to avoid providing this Court and

 all parties-in-interest with the required factual support and ability to conduct a meaningful cross-

 examination on all issues that form the foundation for the relief sought in both the petition for

 recognition and the motion for provisional relief.

           7.         To be clear, and as set forth in the Motion to Compel, a deposition of Karpeles is

 necessary in order for the Debtor to obtain recognition of the Chapter 15 case, regardless of

 whether he maintains his role as the Debtor’s foreign representative. He is the Debtor’s principal

 officer and the person with the most knowledge about the Debtor’s history, assets, and

 operations. This relief was made clear in the Deposition Order, and on the record at the April 1

 Hearing, as the Court stated that “I’m granting the request to take the deposition of Mark

 Karpeles pursuant to the 7000 rules of discovery,” as opposed to granting a request to take the

 deposition of a foreign representative.           April 1 Hearing Transcript at p. 84. Therefore, as

 explained in detail in the Motion to Compel, as well as in the Greene Plaintiffs’ Motion to

 Reconsider Setting for Hearing on Creditors Gregory Greene and Joseph Lack’s Motion for

 Termination of Provisional Relief (the “Reconsideration Motion”)6 seeking an immediate hearing

 to terminate the provisional relief previously granted to the Debtor, because the Debtor obtained

 provisional relief on the basis of Karpeles’ unsupported declaration, the Debtor cannot maintain



 5
   Again, the hearing on the Greene Plaintiffs’ Motion for Termination of Provisional Relief is set for May 6, 2014.
 This means that the Greene Plaintiffs would have to depose Karpeles and then argue the next day—prior to any
 transcript being available—the points in his testimony that support terminating the provisional stay.
 6
     Docket No. 79.



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 its burden for provisional relief (which is to be evaluated under the standards for a preliminary

 injunction), in light of the refusal of Karpeles to appear for his court-ordered deposition.

 B.          The Emergency Continuance Motion Was Filed Without Proper Authority

             8.       Additionally, to date all pleadings in this case filed on behalf of the Debtor have

 been filed by Karpeles in his capacity as the foreign representative of the Debtor.7 In fact, the

 signature block on each pleading makes clear that attorneys from Baker & McKenzie LLP are

 the “Attorneys for the Petitioner Robert Marie Mark Karpeles, Foreign Representative of MtGox

 Co., Ltd. a/k/a MtGox KK.” This makes sense as the Japanese Court appointed Karpeles as the

 foreign representative for purposes of filing the Chapter 15 petition and a petition to stay the

 proceedings of U.S. lawsuits. See March 10, 2014 Supervisor’s Opinion, attached to the

 Declaration of Robert Marie Mark Karpeles [Docket No. 3] as Exhibit E.

             9.       The Emergency Continuance Motion, however, was not filed by the foreign

 representative, but rather directly by the Debtor—a non-party to the Motion to Compel. The

 Greene Plaintiffs are not aware of any authority given by the Japanese Court for the Debtor to do

 so.8 In addition, not only did the Debtor itself chose to file this Emergency Continuance Motion,

 the Debtor did so despite having a hearing scheduled in Japan less than eight hours after filing

 the Emergency Continuance Motion, at which time the Debtor could have potentially sought

 authority for the filing from the Japanese Court.

             10.      For this reason alone the Emergency Continuance Motion should be denied.




 7
     See, e.g., Docket Nos. 2, 4, 6, 7, 8, 29, 48, 54, and 55.
 8
  By filing the Emergency Continuance Motion, the Debtor has voluntarily subjected itself to the jurisdiction of the
 Bankruptcy Court for all purposes in this Chapter 15 Case. The Greene Plaintiffs hereby reserve all rights to seek
 discovery of the Debtor or any related party under any applicable rule of the Federal Rules of Bankruptcy Procedure.
 Notably, despite the Debtor’s request that the Greene Plaintiffs serve written discovery in March 2014 (which the
 Greene Plaintiffs promptly did), no responses have been received.



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 C.     Debtor’s Counsel Failed to Reasonably Meet and Confer

        11.     Finally, despite the requirement of meeting and conferring prior to any discovery-

 related motion, the Debtor’s counsel merely informed the Greene Plaintiffs that Karpeles was not

 going to appear for the April 17, 2014 deposition, and that they would be filing papers seeking a

 hearing on April 15, 2014. Debtor’s counsel made no mention of what relief was being sought

 nor sought any input on the dates and times for a hearing.

        12.     Karpeles had his chance and has made his choice. The requested continuance

 should be denied and the Court should terminate the provisional relief.




 Respectfully submitted,
 Dated: April 15, 2014

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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 15, 2014 a true and correct copy of the
 foregoing document was served (i) upon all parties on the attached Service List via e-mail (if
 available as indicated thereon) or first class mail, and (ii) via e-mail upon the parties that receive
 electronic notice in this case pursuant to the Court’s ECF filing system:


                                                       /s/ Robin E. Phelan
                                                       Robin E. Phelan




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